Case 1:05-cr-00160-HYJ        ECF No. 120, PageID.251          Filed 11/09/06     Page 1 of 3




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                          File No. 1:05-CR-160
v.
                                                          HON. ROBERT HOLMES BELL
JOSHSHAN CHILDS and
JEREMIAH JAPETH SIMS,

              Defendants.
                                              /

                                       OPINION

       This matter is before the Court on Defendant Joshshan Childs' motion for relief from

prejudicial joinder.

       Defendants Joshshan Childs and Jeremiah Japeth Sims have been charged with

conspiracy to commit a murder-for-hire and the murder-for-hire of Chrissy Satterfield in

Berrien County on or about August 6, 1996. Sims has made statements to law enforcement

officers and to a jail cell mate that directly implicate Childs in the murder. Childs moved for

relief from prejudicial joinder based upon his contention that any admission of Sims'

statements would violate Childs' Sixth Amendment right to confrontation. See Bruton v.

United States, 391 U.S. 123, 126 (1968) (holding that statements of non-testifying co-

defendants which implicate another defendant on their face violate the Sixth Amendment

right to confront witnesses, regardless of any limiting instruction).
Case 1:05-cr-00160-HYJ        ECF No. 120, PageID.252        Filed 11/09/06     Page 2 of 3




       The government acknowledged that admission of Sims' statements in full would

directly incriminate Childs in the murder and would violate Childs' Sixth Amendment rights.

However, the government contended that severance was not required because Bruton can be

complied with by redaction. See Richardson v. Marsh, 481 U.S. 200, 209 (1987). The

government offered a redacted synopsis of Sims' statements, which it contended would

satisfactorily address Childs' concerns.

       Although Defendant Childs was substantially satisfied with the government's proposed

redaction of Sims' statements, Defendant Sims was not. Defendant Sims objected to the

proposed redaction because he argued that it violated his right to confrontation and the rule

of completeness. According to Defendant Sims, the proposed redaction would present his

statements out of context and would prevent him from effectively cross-examining the

government witnesses on the entire statement.

       The parties advised the Court that they would attempt to work out a mutually

agreeable redaction of Sims' statements. Although the parties have made an attempt, no

agreement has been reached. The government and Sims have each filed supplemental briefs

with conflicting proposals on how Sims' statements should be redacted.

       There is a strong policy presumption in favor of joint trials "when charges will be

proved by the same evidence and result from the same acts." United States v. Critton, 43

F.3d 1089, 1098 (6th Cir. 1995). Nevertheless, the Court may grant a severance "[i]f it




                                             2
Case 1:05-cr-00160-HYJ         ECF No. 120, PageID.253         Filed 11/09/06     Page 3 of 3




appears that a defendant or the government is prejudiced by a joinder of offenses or of

defendants." F ED. R. C RIM. P. 14.

        It appears to this Court that this is a proper case for severance. A redaction of Sims'

statements that enables the government to introduce evidence in support of its case while at

the same time preserving the constitutional rights of both Sims and Childs is probably

impossible to achieve. Either the government or one of the Defendants will be prejudiced

by a joint trial. Accordingly, the Court will grant Childs' motion for relief from prejudicial

joinder and sever the trial of Childs from the trial of Sims. Pursuant to the government's

request, the Court will schedule the trial of Childs to commence prior to the trial of Sims.

        An order consistent with this opinion will be entered.




Date:     November 9, 2006                  /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               3
